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CRIMINAL PROCEEDINGS - Supervised Release Revocation Hearing

       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge B. Lynn Winmill                        Date: July 11, 2022
Case No. 1:18-cr-257-BLW                     Deputy Clerk/ESR: Sunny Trumbull
Place: Boise, ID                             Hearing held in person, Recorded via Zoom
Time: 4:20 – 4:54 p.m.

UNITED STATES OF AMERICA vs. VADIM N. DMITRUK

Counsel for United States - Christian Nafzger
Counsel for Defendant – Katherine Ball, CJA counsel
Probation – Crystal Laleman

(X) Court reviewed case history.
(X) Defendant advised the court that he intends to enter an admission to allegations 2a-f, 3 and
4a-c contained in the petition.
(X) Defendant sworn for examination by the Court.
(X) Court finds the defendant competent to enter an admission.

(X) Sentencing guidelines explained.
(X) Constitutional rights explained.
(X) Supervised Release Petition furnished to the defendant. Violations read by the Court.
(X) Maximum penalty: 3 years imprisonment followed by up to a life term of supervised release

(X) Defendant withdrew his previous plea and entered an admission to violation(s) 2a-f, 3 and
4a-c contained in the Supervised Release Petition. The Court accepts the defendant’s admission
and enters a judgment of guilty to the crime charged in the Supervised Release Petition.

(X) Counsel made sentencing recommendations.
(X) The Court granted the Government’s oral motion to dismiss violation 1 in the petition.
(X) Defendant made statements to the Court on his own behalf.

SENTENCE: Term of supervised release is hereby REVOKED.
Defendant is hereby committed to the custody of the Bureau of Prisons to be imprisoned for a
term of 10 months with no term of supervised release to follow.

The Court recommends that the defendant be credited with all time served in federal custody and
that he be placed in a local facility, with SeaTac as a secondary placement.

(X) Right to appeal explained.

(X) Defendant remanded to the custody of the United States Marshals Service.
